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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Mildred Calender,                          )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )      No.    11 C 784
                                           )
Cavalry Portfolio Services, LLC, a         )
Delaware limited liability company,        )
                                           )
       Defendant.                          )      Jury Demanded

                                        COMPLAINT

       Plaintiff, Mildred Calender, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages for Defendant’s

violations of the FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                          PARTIES

       3.      Plaintiff, Mildred Calender ("Calender"), is a citizen of the State of Texas,

from whom Defendant attempted to collect a delinquent consumer debt she owed for a

CitiFinancial account, despite the fact that she was represented by the legal aid

attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and People with

Disabilities program ("LASPD"), located in Chicago, Illinois.
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       4.      Defendant, Cavalry Portfolio Services, LLC (“Cavalry”) is a Delaware

limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debts. Defendant Cavalry operates a nationwide debt

collection business, and attempts to collect debts from consumers in every state,

including consumers in the State of Illinois. In fact, Defendant Cavalry was acting as a

debt collector as to the delinquent consumer debt it attempted to collect from Ms.

Calender.

       5.      Defendant Cavalry is licensed to conduct business in Illinois and maintains

a registered agent here, see, record from the Illinois Secretary of State, attached as

Exhibit A. In fact, Cavalry conducts business in Illinois.

       6.      Moreover, Defendant Cavalry is licensed as a collection agency in Illinois,

see, record from the Illinois Division of Professional Regulation, attached as Exhibit B.

In fact, Cavalry acts as a debt collector in Illinois.

                                 FACTUAL ALLEGATIONS

       7.      Ms. Calender is a disabled senior citizen, with limited assets and income,

who fell behind on paying her bills. When Defendant Cavalry began trying to collect a

delinquent CitiFinancial debt from Ms. Calender, she sought the assistance of the legal

aid attorneys at the Chicago Legal Clinic’s LASPD program, regarding her financial

difficulties and Defendant Cavalry's collection actions.

       8.      Via a letter dated September 3, 2010, and faxed on September 4, 2010,

one of Ms. Calender's attorneys at LASPD told Cavalry, in writing, that Ms. Calender

was represented by counsel, and directed Cavalry to cease contacting her, and to



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cease all further collection activities because Ms. Calender was forced, by her financial

circumstances, to refuse to pay her unsecured debt. Copies of this letter and fax

confirmation are attached as Exhibit C.

       9.     Nonetheless, on November 4, 2010, Defendant Cavalry sent a collection

letter directly to Ms. Calender, which demanded payment of the CitiFinancial debt. A

copy of this letter is attached as Exhibit D.

       10.    Accordingly, on January 19, 2011, one of Ms. Calender’s LASPD

attorneys had to write to Defendant Cavalry again to demand that it cease

communications and collection of the debt. Copies of this letter and fax confirmation

are attached as Exhibit E.

       11.    All of Defendant Cavalry's collection actions complained of herein

occurred within one year of the date of this Complaint.

       12.    Defendant Cavalry's collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

       13.    Plaintiff adopts and realleges ¶¶ 1-12.

       14.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).




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      15.    Here, the letter from Ms. Calender’s agent, LASPD, told Defendant

Cavalry to cease communications and cease collections (Exhibit C). By continuing to

communicate regarding this debt and demanding payment, Defendant Cavalry violated

§ 1692c(c) of the FDCPA.

      16.    Defendant Cavalry’s violation of § 1692c(c) of the FDCPA renders it liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      17.    Plaintiff adopts and realleges ¶¶ 1-12.

      18.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      19.    Defendant Cavalry knew that Ms. Calender was represented by counsel in

connection with her debts because her attorneys at LASPD had informed Defendant, in

writing (Exhibit C), that she was represented by counsel, and had directed Defendant

Cavalry to cease directly communicating with Ms. Calender. By directly sending Ms.

Calender the November 4, 2010 collection letter (Exhibit D), despite being advised that

she was represented by counsel, Defendant Cavalry violated § 1692c(a)(2) of the

FDCPA.

      20.    Defendant Cavalry’s violation of § 1692c(a)(2) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.



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                                  PRAYER FOR RELIEF

       Plaintiff, Mildred Calender, prays that this Court:

       1.     Find that Defendant Cavalry's debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Calender, and against Defendant

Cavalry, for statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Mildred Calender, demands trial by jury.

                                                     Mildred Calender,

                                                     By: /s/ David J. Philipps_______
                                                     One of Plaintiff's Attorneys

Dated: February 4, 2011

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